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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               Senior Judge Zita L. Weinshienk

  Civil Action No. 07-cv-01876-ZLW-BNB

  GERALDINE SWIMMER f/k/a Geraldine Mossman, individually, and as next friend of
  SEAN SWIMMER f/k/a Sean Mossman, a minor,

           Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA, and
  PORTERCARE ADVENTIST HEALTH SYSTEM, INC.,

           Defendants.


                         ORDER OF DISMISSAL WITH PREJUDICE


           Pursuant to and in accordance with Fed.R.Civ.P. 41(a)(1)(A)(ii) and the

  Stipulation Of Dismissal With Prejudice (Doc. # 38) signed by the attorneys for the

  parties hereto it is

           ORDERED that the Complaint and cause of action against Defendant Portercare

  Adventist Health System, Inc., are dismissed with prejudice, each party to pay its own

  costs.

           DATED at Denver, Colorado, this 20th day of November, 2008.

                                                   BY THE COURT:


                                                   _______________________________
                                                   ZITA L. WEINSHIENK, Senior Judge
                                                   United States District Court
